Case 3:17-cv-00072-NKM-JCH Document 68-1 Filed 11/03/17 Page 1 of 2 Pageid#: 231




                          UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                               Charlottesville Division

  ELIZABETH SINES, SETH WISPELWEY,
  MARISSA BLAIR, TYLER MAGILL, APRIL
  MUNIZ, HANNAH PEARCE, MARCUS
  MARTIN, JOHN DOE, JANE DOE 1, JANE
  DOE 2, and JANE DOE 3,

                                Plaintiffs,
  v.

  JASON KESSLER, RICHARD SPENCER,
  CHRISTOPHER CANTWELL, JAMES
  ALEX FIELDS, JR., VANGUARD
  AMERICA, ANDREW ANGLIN,                              Civil Action No. 3:17-cv-00072-NKM
  MOONBASE HOLDINGS, LLC, ROBERT
  “AZZMADOR” RAY, NATHAN DAMIGO,
  ELLIOT KLINE a/k/a/ ELI MOSELY,
  IDENTITY EVROPA, MATTHEW                                 JURY TRIAL DEMANDED
  HEIMBACH, MATTHEW PARROTT a/k/a
  DAVID MATTHEW PARROTT,
  TRADITIONALIST WORKER PARTY,
  MICHAEL HILL, MICHAEL TUBBS,
  LEAGUE OF THE SOUTH, JEFF SCHOEP,
  NATIONAL SOCIALIST MOVEMENT,
  NATIONALIST FRONT, AUGUSTUS SOL
  INVICTUS, FRATERNAL ORDER OF THE
  ALT-KNIGHTS, MICHAEL “ENOCH”
  PEINOVICH, LOYAL WHITE KNIGHTS OF
  THE KU KLUX KLAN, and EAST COAST
  KNIGHTS OF THE KU KLUX KLAN a/k/a
  EAST COAST KNIGHTS OF THE TRUE
  INVISIBLE EMPIRE,

                                Defendants.


   [PROPOSED] ORDER GRANTING PRO HAC VICE ADMISSION OF ALAN LEVINE

         Upon review and consideration of Plaintiffs’ motion for pro hac vice admission of Alan

  Levine, Esq., and it appearing that Mr. Levine is licensed to practice law and is a bar member in
Case 3:17-cv-00072-NKM-JCH Document 68-1 Filed 11/03/17 Page 2 of 2 Pageid#: 232




  good standing in the State of New York and thus qualified to appear for and on behalf of the

  Plaintiffs in this Action,

          IT IS HEREBY ORDERED that attorney Alan Levine of Cooley LLP shall be permitted

  to appear pro hac vice for and on behalf of Plaintiffs in the above styled and numbered Civil

  Action, and able to appear at hearings or trials in the absence of an associated member of the bar

  of this Court. The Clerk of the Court is hereby directed to send a certified copy of this Order to

  Plaintiffs, Defendants, and all counsel of record.

          Entered this _____ day of November, 2017.



                                                _____________________________________
                                                The Honorable Norman K. Moon
                                                United States District Judge




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